                                                  RE: Demonstration on Capitol Annex
                       Case 1:12-cv-00076-BLW Document 170-5 Filed 05/14/24 Page 1 of 7

         Subject: RE: Demonstration on Capitol Annex
         From: James Craig <James.Craig@ag.idaho.gov>
         Date: 5/7/2024, 8:31 PM
         To: "Casey Parsons (Mx.)" <casey@wrest.coop>, Ritchie Eppink <ritchie@wrest.coop>, "david@wrest.coop"
         <david@wrest.coop>
         CC: Brian Church <brian.church@ag.idaho.gov>

         Casey,

         Thanks for confirming that your clients have moved items from the Capitol Annex grounds to allow for the
         lawn maintenance. However, they have moved items to the Idaho State Capitol steps and pedestrian walkway
         off of Jefferson Street. They are interfering with access to the steps and pedestrian walkway, and violating
         IDAPA rules against chalking, placement of materials, etc. Your clients need to clear the items from the steps
         and pedestrian walkway immediately. They are subject to being cited by the Idaho State Police at any time,
         and the Idaho State Police may seize the unmoved items.

         Thank you for ensuring your clients’ compliance with Idaho law.

         Jim

                     James E. M. Craig | Division Chief
                     Civil Litigation and Constitutional Defense
                     Office of the Attorney General | State of Idaho
                     O: 208-854-8088 | W: ag.idaho.gov



         From: Casey Parsons (Mx.) <casey@wrest.coop>
         Sent: Tuesday, May 7, 2024 7:09 PM
         To: James Craig <James.Craig@ag.idaho.gov>; Ritchie Eppink <ritchie@wrest.coop>; david@wrest.coop
         Cc: Brian Church <brian.church@ag.idaho.gov>
         Subject: RE: Demonstra�on on Capitol Annex

         Understood, they've moved off the grounds of the Annex to permit regular maintenance.


         On May 7, 2024 3:57:01 PM MDT, James Craig <James.Craig@ag.idaho.gov> wrote:
           Casey,

           I am in a meeting right now, but wanted to respond to your question about lawn maintenance as soon as
           possible. As stated in the previous email, they need to be off the grounds no later than 6:30 pm daily. This
           means they need to be off the ground by this evening at 6:30. Lawn mowing will occur first thing
           Wednesday morning. Further, the sprinklers are on a sensor and can water any night between 7:00 p.m.
           and 6:00 a.m., meaning they have to be off the grass every night to allow for the watering. As mentioned
           below, they can return on Wednesdays after the lawn mowing is complete, and other mornings after 7:00
           a.m.

           Thanks,

           Jim




1 of 7                                                                                                         5/14/2024, 11:16 AM
                                                RE: Demonstration on Capitol Annex
                     Case 1:12-cv-00076-BLW Document 170-5 Filed 05/14/24 Page 2 of 7

                      James E. M. Craig | Division Chief
                      Civil Litigation and Constitutional Defense
                      Office of the Attorney General | State of Idaho
                      O: 208-854-8088 | W: ag.idaho.gov



         From: Casey Parsons <casey@wrest.coop>
         Sent: Tuesday, May 7, 2024 3:49 PM
         To: James Craig <James.Craig@ag.idaho.gov>; Ritchie Eppink <ritchie@wrest.coop>; david@wrest.coop
         Cc: Brian Church <brian.church@ag.idaho.gov>
         Subject: Re: Demonstra�on on Capitol Annex


         Just following up on the rest of this. With respect to other issues that you raised:

         1. Chalking: I understand that the IDAPA regs prohibit marking Capitol property, including using chalk.
         However, IDAPA 38.04.06.010.02 defines the Capitol Annex grounds as "[t]he Interior and Exterior of the real
         property located at 514 West Jefferson Street, Boise, Idaho and occupying block 65 as shown on the Boise City
         original townsite plat filed in the Ada County Recorder’s office in Book 1 on page 1." When I look up that parcel
         on the Ada County Assessor's website, block 65 seemingly only includes the area up until the grass and does not
         include the abutting sidewalk. See attached for a screengrab of that page. The consequence is seemingly that the
         sidewalk there is City property as opposed to being part of the Capitol Mall grounds. If the State's position is that
         the sidewalk is part of the Annex and subject to the IDAPA regs, then please provide any authority in support of
         that position.

         2. Tents: As I said in my previous email, I am no longer intending to pursue a motion for contempt given that the
         tent that was seized yesterday was, I believe, returned. Going forward, however, if tents are seized and you are
         unwilling to provide information about why they were seized, then I won't have any choice but to pursue a
         motion for contempt if they appear to have been seized absent any indicia of camping, which appears to be the
         case here. I don't want us to be put in a situation where we have to litigate every piece of property that ISP seizes,
         but, if you intend to pursue depositions or other discovery relevant to those enforcement actions, then I would
         appreciate some cooperation in providing the information and evidence necessary to determine whether moving
         forward on such a motion is appropriate. To the degree that this becomes relevant again, then please be prepared
         to discuss a discovery plan with me, or, in the alternative, with dates that you would be available for a 26(f)
         conference.

         3. Other Alleged Violations of IDAPA: I'm happy to work with you to ensure that demonstrators are
         complying with their obligations in their use of the space. If you could please identify what specific regulations
         under the Capitol Mall rules that you believe are being violated, then I will discuss with the demonstrators.

         4. Lawn Maintenance: I have discussed this with the demonstrators and they have worked out a plan to be off
         the grass for the periods of time that you have identified. If you could please identify the schedule for
         maintenance that would be helpful. I have already reviewed the information on cms.idaho.gov/grounds, but if
         there are other documents that would help inform when that maintenance occurs it would be helpful to review
         with the demonstrators.

         Thank you for your time and attention to this. It appears that we have a mutual goal of facilitating the
         demonstrators First Amendment rights while also ensuring that the relevant IDAPA regulations are complied
         with, and I am hopeful that maintaining an open channel of communication will help accomplish that. I look
         forward to your reply.

         Thrive,

         Casey Parsons (Mx.)
         Pronouns: They/She
         WREST COLLECTIVE



2 of 7                                                                                                               5/14/2024, 11:16 AM
                                           RE: Demonstration on Capitol Annex
                  Case 1:12-cv-00076-BLW Document 170-5 Filed 05/14/24 Page 3 of 7

         Attorney
         208-589-1702
         www.wrest.coop

         On 5/7/2024 11:08 AM, Casey Parsons (Mx.) wrote:
              Hi Jim, sorry for not getting back to you yesterday -- I went home early with some
              kind of stomach bug but am feeling more human now. I'll get you a longer response to
              the other items shortly. As far as the depo and the contempt motion, it sounds like ISP
              dropped off the tents this morning so I'm no longer planning on pursuing it for the
              moment. We won't be able to make 2pm work today, but if you still want a depo from
              Matthew then let me know and I'll send you some available dates and times.


              On May 6, 2024 4:20:34 PM MDT, James Craig <James.Craig@ag.idaho.gov> wrote:
                Casey,

                Yes, ISP seized a tent this morning which it determined was being used for camping. The
                owner of the tent is welcome to pick up the tent by contacting ISP Dispatch at (208)
                846-7550 and let Dispatch know they need to be put into contact with the Capitol Protective
                Services Unit to collect property. The owner of the property will need to provide
                identification at the time of pickup. ISP had ample justification for seizing the tent, which I
                need not repeat in this email. The owners of any property seized by ISP may pick up their
                property from ISP by following the same instructions.

                Should you choose to follow through on your intention to move for contempt, we will present
                evidence showing how the people out there are not complying with Idaho law, nor are they
                complying with the requirements of Watters. To that end, we need to conduct a deposition of
                Mr. Newirth prior to that hearing, and will request that the hearing be delayed to allow us
                time to conduct that deposition. Please find attached a notice of deposition for tomorrow
                afternoon. Please confirm with me as soon as possible that this time and location will work
                so that I can get the reporter scheduled for the deposition. Should I not receive confirmation
                by 6:00 p.m. this evening, I will not schedule the reporter and we will reschedule the
                deposition. I trust that as Mr. Newirth’s attorney in this matter, you will ensure that he is
                present for that deposition.

                Further, should the people camped out on the Capitol Annex lawn fail to comply with Idaho
                law, ISP will conduct enforcement actions and, should it become necessary, we will file for
                temporary restraining order and/or an injunction asking for a court order requiring
                everyone out there to comply with Idaho laws, rules and regulations. ISP has been
                incredibly patient and seeks to work with the protestors to allow them to exercise their First
                Amendment rights, while ensuring that state law is followed and the Capitol Annex property
                protected.

                As mentioned above, the current encampment is not following Idaho state law. ISP will be
                moving through to inform the protestors that the indicia of camping, stakes, sidewalk
                chalking, and items affixed to or held up by state property (including tees) must be removed
                by 9 a.m. tomorrow morning. Any of the prohibited items remaining after 9 a.m. tomorrow
                morning will be confiscated. It is also anticipated that ISP will start to issue citations for
                violations of law. See attached for a list of laws which are directly applicable to the current
                encampment.




3 of 7                                                                                                       5/14/2024, 11:16 AM
                                      RE: Demonstration on Capitol Annex
           Case 1:12-cv-00076-BLW Document 170-5 Filed 05/14/24 Page 4 of 7
         Finally, the Capitol Annex has lawn maintenance regularly scheduled as follows: mowing
         first thing Wednesday morning and moisture-based sensor watering which generally occurs
         between 7:00 p.m. and 6:00 a.m. daily. As held in Docket 53, the protestors will need to
         remove the symbolic tents and other property daily by 6:30 p.m. to allow state employees to
         ensure that the lawn is safe for that maintenance activity, including lawn mowing. To the
         extent protestors desire to continue in lawful demonstrations following the regularly
         scheduled maintenance, that may be done after 7:00 a.m. daily, except for Wednesdays when
         they can return after the mowing is completed.

         We expect the property to be as clean as it was prior to the beginning of the encampment.
         Should it not be completely cleaned up (including cleaning up the illegal sidewalk chalking),
         the cost of clean up will be charged to all identified protestors.

         Thank you,

         Jim

                      James E. M. Craig | Division Chief
                      Civil Litigation and Constitutional Defense
                      Office of the Attorney General | State of Idaho
                      O: 208-854-8088 | W: ag.idaho.gov



         From: Casey Parsons (Mx.) <casey@wrest.coop>
         Sent: Monday, May 6, 2024 8:25 AM
         To: James Craig <James.Craig@ag.idaho.gov>
         Subject: Re: Demonstra�on on Capitol Annex

         Jim,

         I understand that ISP removed a tent earlier this morning. I've reviewed video of the
         incident, and the officer claims to have found people sleeping inside of it on the basis
         that they had "red puffy eyes."

         As discussed in the hearing on Saturday, the protestors on site are staying up all
         night in shifts in compliance with the injunction. The fact that they have puffy eyes
         or look tired is simply not indicia of camping, which Judge Winmill explicitly
         acknolwedged, and especially considering it doesn't appear that ISP found any other
         belongings in the tent.

         Please immediately provide a valid written explanation for why this tent was
         removed and evidence for that justification, or, alternatively, direct ISP to return
         every tent that they have confiscated since Saturday to the protest site by 2pm today.
         If ISP is unable to do either of those, then I intend to file another motion for an order
         to show cause and move for contempt.

         Thank you,

         Casey




4 of 7                                                                                             5/14/2024, 11:16 AM
                                       RE: Demonstration on Capitol Annex
           Case 1:12-cv-00076-BLW Document 170-5 Filed 05/14/24 Page 5 of 7

         On May 5, 2024 10:09:29 AM MDT, James Craig <James.Craig@ag.idaho.gov> wrote:
           Casey,

           Can you please remind your clients that they have to keep a door to the tent open
           at all times. There are some tents with doors closed and signs claiming it is an art
           display. If that is not remedied, ISP will have to go through and remove those tents
           with doors closed.

           Thank you,

           Jim

           Get Outlook for iOS

           From: Casey Parsons (Mx.) <casey@wrest.coop>
           Sent: Saturday, May 4, 2024 3:26:47 PM
           To: James Craig <James.Craig@ag.idaho.gov>
           Subject: Re: Demonstra�on on Capitol Annex

              You don't often get email from casey@wrest.coop. Learn why this is important


           I would also note that the court in Watters enjoined the enforcement of that statute both as it
           applied to symbolic and assembly tents -- so I think it's clear that the demonstrators have a
           right to assemble within them under the injunction.

           On 5/4/2024 3:25 PM, Casey Parsons (Mx.) wrote:
                 Jim, just writing to follow up on our call. I.C. 67-1613 has the following to say
                 about camping:

                 For the purposes of this section, the term "camp" or "camping" means to use as a
                 temporary or permanent place of dwelling, lodging or living accommodation, and
                 which indicia of camping may include, but are not limited to, storing personal
                 belongings, using tents or other temporary structures for storing personal
                 belongings or for sleeping, carrying on cooking activities, laying out bedding or
                 making any fire.

                 As we discussed, the inventory list provided by ISP did not include any bedding,
                 and it doesn't sound like the demonstrators were engaged in cooking activities, or
                 making any fire. The demonstrators have represented to me that they don't
                 intend on sleeping in the tents tonight and have maintained a rotating staff to
                 keep a presence at the demonstration, as demonstrated by the fact that many of
                 the people who stayed last night are at home sleeping right now. And for the
                 purposes of the use of the tents tonight, the text of the statute doesn't suggest to
                 me that sitting in them to stay out of the elements falls within the indicia of
                 camping. I also have several declarants willing to state that they were not sleeping
                 at the site, that they did not witness anybody else doing so, that they left in the
                 morning to go home to sleep, and that they discussed as a group the importance
                 of not sleeping at the protest site.

                 So, for the purposes of tonight, if ISP is able to guarantee that it will not
                 confiscate any property or arrest any demonstrators so long as individuals are
                 not sleeping, then I think we can discuss what the demonstrators want and reach
                 an amicable resolution to this. I'll delay filing until 4 so we have a chance to talk



5 of 7                                                                                                   5/14/2024, 11:16 AM
                                    RE: Demonstration on Capitol Annex
         Case 1:12-cv-00076-BLW Document 170-5 Filed 05/14/24 Page 6 of 7
             again.

             Thrive,

             Casey Parsons (Mx.)
             Pronouns: They/She
             WREST COLLECTIVE
             Attorney
             208-589-1702
             www.wrest.coop

             On 5/4/2024 2:42 PM, Casey Parsons (Mx.) wrote:
                      Thanks, James. I'm going to go ahead and notify the court of my
                      intent to request a hearing this afternoon but I'll hold off on filing
                      until approximately 3:30 to wait to hear back.

                      On 5/4/2024 2:39 PM, James Craig wrote:
                             Let me do some checking on things and I’ll try
                             to get back to you.

                             Jim

                             Get Outlook for iOS

                             From: Casey Parsons (Mx.) <casey@wrest.coop>
                             Sent: Saturday, May 4, 2024 1:38 PM
                             To: James Craig <James.Craig@ag.idaho.gov>
                             Subject: Demonstra�on on Capitol Annex

                                You don't often get email from casey@wrest.coop. Learn
                                why this is important

                             Jim,

                             I'm writing to you regarding a demonstration
                             occurring this weekend on the grounds of the
                             Capitol Annex. The protestors are using
                             symbolic tents as part of the demonstration. ISP
                             and BPD came last night and threatened to
                             trespass the protestors on the basis of their
                             assertion that the Annex grounds are a city park
                             but ultimately left, and then ISP returned this
                             morning to confiscate the protestors' property
                             including those tents. As far as I know, nobody
                             at the site slept there and they're just keeping it
                             staffed around the clock.

                             ISP has threatened to come back to sweep the
                             site again at 6pm this afternoon. I am currently
                             planning to file a TRO on the basis that their


6 of 7                                                                                         5/14/2024, 11:16 AM
                              RE: Demonstration on Capitol Annex
         Case 1:12-cv-00076-BLW Document 170-5 Filed 05/14/24 Page 7 of 7

                       enforcement action would violate the
                       permanent injunction in Watters v. Otter and
                       asking for a hearing before 6pm. Before I do
                       that, I'm hoping that we can discuss an amicable
                       resolution. Can you please let me know your
                       availability to talk today? My cell phone is
                       208-589-1702.

                       Thrive,

                       Casey Parsons
                       Pronouns: They/She
                       Wrest Collective
                       NOTICE: This message, including any attachments, is
                       intended only for the individual(s) or entity(ies) named above
                       and may contain information that is confidential, privileged,
                       attorney work product, or otherwise exempt from disclosure
                       under applicable law. If you are not the intended recipient,
                       please reply to the sender that you have received this
                       transmission in error, and then please delete this email.




7 of 7                                                                                  5/14/2024, 11:16 AM
